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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------X
                                         :
SECURITIES AND EXCHANGE COMMISSION,      :
                                         :                          1:22-cv-03216 (RA)
                Plaintiff,               :
                                         :
     -v-                                 :
                                         :
MOSHE STRUGANO and RINAT GAZIT,          :
                                         :
                Defendants.              :
                                         :
-----------------------------------------X

   [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW APPEARANCES

       Petrillo Klein + Boxer LLP and its attorneys, Nelson A. Boxer and Christina Karam, are

relieved, and attorneys Jay Philip Lefkowitz, Robert Allen, and Zachary S. Brez of Kirkland &

Ellis LLP are substituted, as Counsel to Defendant Rinat Gazit in this action.

Dated: July _____, 2023.

                                                            __________________________
                                                            Honorable Ronnie Abrams
                                                            U.S.D.J.
